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                                                            U.S. Department of Justice
                                                            Office of Information Policy
                                                            Suite 11050
                                                            1425 New York Avenue, NW
                                                            Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                            August 23, 2018

Mr. Dominic Holden                                  Re:     DOJ-2018-007611 (AG)
BuzzFeed News                                               DOJ-2018-007687 (ASG)
111 E 18th St, Newsroom                                     DOJ-2018-007688 (PAO)
New York, NY 10003                                          DOJ-2018-007689 (OLP)
dominic.holden@buzzfeed.com                                 VRB:VAV:ND

Dear Mr. Holden:

       This is to acknowledge your Freedom of Information Act (FOIA) request dated
August 13, 2018, and received in this Office on August 14, 2018, in which you requested
various records pertaining to the Religious Liberty Task Force (RLTF), dating since
September 1, 2017. This response is made on behalf of the Offices of the Attorney General,
Associate Attorney General, Public Affairs, and Legal Policy.

        You have requested expedited processing of your request pursuant to the Department’s
standard permitting expedition for requests involving “[a]n urgency to inform the public about
an actual or alleged federal government activity, if made by a person primarily engaged in
disseminating information.” See C.F.R. § 16.5(d)(ii) (2017). Based on the information you
have provided, I have determined that your request for expedited processing under this
standard should be denied. This Office cannot identify a particular urgency to inform the
public about an actual or alleged federal government activity beyond the public’s right to know
about government activities generally.

        Additionally, you also have requested expedited processing of your request pursuant to
the Department’s standard involving “[a] matter of widespread and exceptional media interest
in which there exist possible questions about the government’s integrity which affect public
confidence.” See 28 C.F.R. § 16.5(e)(1)(iv) (2017). Pursuant to Department policy, we
directed your request to the Director of Public Affairs, who makes the decision whether to
grant or deny expedited processing under this standard. See id. § 16.5(e)(2). Please be advised
the Director has determined that your request for expedited processing should be denied.
Although your request for expedited processing has been denied; it has been assigned to an
analyst in this Office and our processing of it has been initiated.

        The records you seek require a search in and/or consultation with another Office, and
so your request falls within “unusual circumstances.” See 5 U.S.C. 552 § (a)(6)(B)(i)-(iii)
(2012 & Supp. V. 2017). Because of these unusual circumstances, we need to extend the time
limit to respond to your request beyond the ten additional days provided by the statute. We
have not yet completed a search to determine whether there are records within the scope of
your request. The time needed to process your request will necessarily depend on the



                                                                                    Exhibit B
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complexity of our records search and on the volume and complexity of any material located.
For your information, this Office assigns incoming requests to one of three tracks: simple,
complex, or expedited. Each request is then handled on a first-in, first-out basis in relation to
other requests in the same track. Simple requests usually receive a response in about a month,
whereas complex requests necessarily take longer. At this time, your request has been
assigned to the complex track. In an effort to speed up our records search, you may wish to
narrow the scope of your request to limit the number of potentially responsive records or agree
to an alternative time frame for processing, should records be located; or you may wish to
await the completion of our records search to discuss either of these options.

       We have not yet made a decision on your request for a fee waiver. We will do so after
we determine whether fees will be assessed for this request.

        I regret the necessity of this delay, but I assure you that your request will be processed
as soon as possible. If you have any questions or wish to discuss reformulation or an
alternative time frame for the processing of your request, you may contact the analyst handling
your request, Nadege Delake, assigned to this request, by telephone at the above number or
you may write to her at the above address. You may also contact our FOIA Public Liaison,
Douglas Hibbard, for any further assistance and to discuss any aspect of your request at: Office
of Information Policy, United States Department of Justice, Suite 11050, 1425 New York
Avenue, NW, Washington, DC 20530-0001; telephone at 202-514-3642; or facsimile at 202-
514-1009.

        Additionally, you may contact the Office of Government Information Services (OGIS)
at the National Archives and Records Administration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is as follows: Office of Government
Information Services, National Archives and Records Administration, Room 2510, 8601
Adelphi Road, College Park, Maryland 20740-6001; e-mail at ogis@nara.gov; telephone at
202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.

        If you are not satisfied with my response to your request for expedited processing, you
may administratively appeal by writing to the Director, Office of Information Policy, United
States Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC
20530-0001, or you may submit an appeal through OIP’s FOIAonline portal at
https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be postmarked
or electronically transmitted within ninety days of the date of my response to your request. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked
“Freedom of Information Act Appeal.”

                                                             Sincerely,




                                                             Vanessa R. Brinkmann
                                                             Senior Counsel
